Case:19-04523-BKT7 Doc#:58-1 Filed:03/05/20 Entered:03/05/20 17:20:19   Desc:
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Case:19-04523-BKT7 Doc#:58-1 Filed:03/05/20 Entered:03/05/20 17:20:19   Desc:
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